OR
         Case 1:21-cr-00310-SDG-LTW
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                                                                       FILED IN OPEN COURT
                                                                              U.S.D.C. Adanta


                                                                               AUG 1 7 2021
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DP/ISION



     UNITED STATES OF AMERICA
                                                Criminal Indicbm.ent
             V.

                                                No- 1 21          C2- 0
     DAWAUN NA/JEE WILLIAMS
                                                                        r-f




THE GRAND JURY CHARGES THAT:

                               Counts One through Five
         (False Statement to a Licensed Firearms Dealer -18 U.S.C. § 922(a)(6))

     On or about the dates listed below/ in the Northern District of Georgia/ the

defendant/ DAWAUN NA'JEE WILLIAMS/ did knowingly furnish and exhibit a false/

fictitious, and misrepresented identification/ and did make a false and fictitious

written statement/ to a licensed dealer of firearms within the meaning of Chapter

44, Title 18, United States Code/ in connection with the acquisition of at least one

of the corresponding firearms described below/ said identification and statement

being intended and likely to deceive the licensed dealer as to a fact material to the

lawfulness of the sale of said firearm(s)/ that is:


 Count            Date        Licensed Dealer                  Fireami(s)

                                                      • one (1) Ruger LC9S 9mm
                                                        semiautomatic pistol
     1      10/19/2020      Autrey/s Armory/ Inc.
                                                      • one (1) Clock 19 9mm
                                                        semiautomatic pistol

                                                      • one (1) Smith &Wesson
                            Range/ Guns and Safes
     2       5/10/2021                                  M&P 380 Shield .380 caliber
                                    LLC
                                                        semiautomatic pistol
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 Count       Date           Licensed Dealer                      Fireann(s)

                                                    • one (1) Clock 17 9mm
                                                        semiautomatic pistol
                                                    • one (1) Bearman Industries
                                                        .38 Special caliber derringer
                                                    • one (1) Clock 19 9mm
                                                        semiautomatic pistol
                                                    • one (1) Derya Arms VRPA40
   3       5/21/2021        Moss Pawn LLC
                                                        12-gauge shotgun
                                                    • one (1) SCCY Industries
                                                        CPX-2 9mm semiautomatic
                                                        pistol
                                                    • one (1) Smith & Wesson
                                                       M&P 9 Shield 9mm
                                                        semiautomatic pistol

                                                    • one (1) Ruger-57 5.7x28mm
                                                       semiautomatic pistol
                            Georgia Firearms        • one (1) Clock 19 9mm
   4      5/26/2021     Holding Company/ LLC           semiautomatic pistol
                       d/b/a Gun Commanders         • one (1) Smith & Wesson
                                                       M&P 15 5.56mm
                                                       semiautomatic pistol

                                                    • one (1) Ruger-57 5.7x28mm
                            Georgia Firearms
                                                       semiautomatic pistol
   5       6/6/2021     Holding Company/ LLC
                                                    • one (1) Taurus G2C 9mm
                       d/b/a Gun Commanders
                                                       semiautomatic pistol



in that the defendant presented a false Georgia identification card bearing the

name of K.E.C-/ whose identity is known to the Grand Jury/ and falsely

represented himself to be //K.E.C.// when/ in fact/ as the defendant then well knew/

he was not //K.E.C//


   All in violation of Title 18, United States Code/ Section 922(a)(6).
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                              Counts Six through Ten
              (Aggravated Identity Theft -18 U.S.C. § 1028A(a)(l))

   On or about the dates listed below/ in the Northern District of Georgia, the

defendant/ DAWAUN NA/JEE WILLIAMS/ did knowingly possess and use/ without

lawful authority/ a means of identification of another person, that is/ the name of

 K.E.C./ an actual person whose identity is known to the Grand Jury/ during and

in relation to the felony violations listed below:


     Count          Date                          Felony Violation

                                 False Statement to a Licensed Firearms Dealer
        6       10/19/2020
                                       as alleged m Count 1 of this Indictment

                                 False Statement to a Licensed Firearms Dealer
        7        5/10/2021
                                       as alleged in Count 2 of this Indictment

                                 False Statement to a Licensed Firearms Dealer
        8        5/21/2021
                                       as alleged in Count 3 of this Indictaaent

                                 False Statement to a Licensed Firearms Dealer
        9        5/26/2021
                                       as alleged in Count 4 of this Indictment

                                 False Statement to a Licensed Firearms Dealer
       10        6/6/2021
                                       as alleged in Count 5 of this Indictment


   All in violation of Title 18, United States Code/ Section 1028A(a)(l).

                                   Count Eleven
    (Possession of a Firearm by a Prohibited Person -18 U.S.C § 922(g)(l))

   On or about July 22, 2021, in the Northern District of Georgia/ the defendant/

DAWAUN NA/JEE WILLIAMS, knowing that he had been previously convicted of at

least one of the following offenses:

   • Terroristic Threats/ on or about June 13,2000, in the Superior Court of Essex

      County (New Jersey);
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   • Burglary, on or about November 30, 2006, in the Circuit Court of Lean

      County (Florida);

   • Robbery, on or about January 28, 2014, m the Cu-cuit Court of Leon County

      (Florida);

   • Criminal Use of Personal Identification Information/ on or about January 28,

      2014, in the Circuit Court of Leon County (Florida);

   • Home-invasion Robbery, on or about March I/ 2018, in the Circuit Court of

      Gadsden County (Florida);

   • Kidnapping, on or about March I/ 2018, in the Circuit Court of Gadsden

      County (Florida); and

   • Aggravated Battery/ on or about March 1, 2018, in the Circuit Court of

      Gadsden County (Florida),

each of the adEoresaid convictions being for a crime punishable by imprisonment

for a term exceeding one year/ did knowingly possess, in and affecting interstate

and foreign commerce/ at least one of the following firearms:

   • one (1) Ruger LC9S 9mm semiautomatic pistol;

   • one (1) Smith &Wesson M&P 380 Shield .380 caliber semiautomatic pistol;

   • one (1) Ruger-57 5.7x28mm semiautomatic pistol; and

   • one (1) Smith & Wesson M&P 15 5.56mm semiautomatic pistol/

all in violation of Title 18, United States Code/ Sections 922(g)(l) and 924(e)


                                Forfeiture Provision

   Upon conviction of one or more of the offenses alleged in this Indictment, the

defendant shall forfeit to the United States/ pursuant to Title 18, United States

Code/ Section 924(d) and Title 28, United States Code/ Section 2461 (c)/ any and all
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firearms and ammunition involved in the commission of the offenses(s), including

but not limited to the firearms listed in the Counts above.

   If any of the above-described forfeitable property/ as a result of any act or

emission of the defendant:

   (a) cannot be located upon the exercise of due diligence;

   (b) has been transferred or sold to, or deposited with, a third party;

   (c) has been placed beyond the jurisdiction of the court;

   (d) has been substantially diminished in value; or

   (e) has been commingled with other property which cannot be divided without

      difficulty/

the United States intends to seek forfeiture of any other property of the defendant

up to the value of the forfeitable property/ pursuant to Title 21, United States Code/

Section 853(p) and Title 28, United States Code/ Section 2461(c).


                                           A                                    BILL




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